&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-11-10"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:mitchellvpeopleofthestateofcoloradono24sc122november4,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Demarea Deshawn Mitchell&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC122&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="166" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="166" data-sentence-id="183" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_183" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 21CA1676&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="224" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="224" data-sentence-id="240" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari GRANTED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="287" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="287" data-sentence-id="303" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[REFRAMED]&lt;/span&gt;
 Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in affirming &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s denial of &lt;span class="ldml-entity"&gt;petitioner&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to dismiss for
 selective &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;&lt;/span&gt; in which &lt;span class="ldml-entity"&gt;the petitioner&lt;/span&gt;, who
 is Black, and his three codefendants were all charged with
 felony murder but only the two non-Black &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; received
 a plea bargain offer that allowed them to be tried in
 &lt;span class="ldml-entity"&gt;juvenile court&lt;/span&gt; in exchange for their cooperation with law
 enforcement.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="779" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="779" data-sentence-id="795" class="ldml-sentence"&gt;DENIED
 AS TO ALL OTHER ISSUES.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;